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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,  )
                           )
              Plaintiff,   )                                4:08CR3009
                           )
         v.                )
                           )
JOHN MICHAEL STEVE BROWN, )                               MEMORANDUM
WILLIAM ANDRE BETTS, LLOYD )                               AND ORDER
STEVEN BROWN, and          )
KIMBERLY C. BROWN,         )
                           )
              Defendants.  )

       Defendant Lloyd Steven Brown has moved to continue the trial currently set
for March 31, 2008. (Filing No. 75). In support of his motion, this defendant states
additional trial preparation time is needed because he has not completed his drug
treatment program, he has not reviewed the recent proffer statements of co-defendants
John Brown and William Betts with his counsel, and he and his wife, co-defendant
Kimberly Brown, are still considering whether a joint defense arrangement may be
required in this case. The government does not oppose the requested continuance.
The Court, being fully advised in the premises, finds that said motion should be
granted.

      IT IS ORDERED:

      1)     Defendant Lloyd Steven Brown’s motion to continue, (filing no. 75), is
             granted.

      2)     As to all the defendants, the trial of this case is set to commence at 9:00
             a.m. on April 28, 2008 for a duration of five trial days. Jury selection
             will be at the commencement of trial.
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    3)    Based upon the showing set forth in defendant Lloyd Steven Brown’s
          motion and the representations of his counsel, the Court further finds
          that the ends of justice will be served by continuing the trial; and that the
          purposes served by continuing the trial date in this case outweigh the
          interest of the defendants and the public in a speedy trial. Accordingly,
          the time between today’s date and April 28, 2008 shall be excluded for
          speedy trial calculation purposes. 18 U.S.C. § 3161(h)(8)(A).

    DATED this 18th day of March, 2008.

                                      BY THE COURT:

                                      s/Richard G. Kopf
                                      United States District Judge




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